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   7                         UNITED STATES DISTRICT COURT
   8
                           CENTRAL DISTRICT OF CALIFORNIA
   9
  10
       Jane Doe, individually and on behalf of §
  11   others similarly situated, and on behalf § Case No.:
       of Cameroon Association of Victims of §
  12
       Ambazonia Terrorism, a foreign non- §       COMPLAINT FOR DAMAGES,
  13   profit corporation; John Doe; DOES §               INJUNCTION AND
       plaintiffs 1 through 1,000               §     DECLARATORY RELIEF
  14
                                                §
  15                 Plaintiffs,                § 1. FOR PERSONAL INJURY
                                                §     DAMAGES PURSUANT TO
  16        vs.                                 §     THE ANTI-TERRORISM ACT;
  17                                            § 2. FOR PERSONAL INJURY
       Ambazonia Foundation Inc.;               §     DAMAGES PURSUANT TO
  18   Ambazonia Consulting Inc.;               §     THE ALIEN TORT CLAIMS
  19   Ambazonia Relief Fund Inc.;              §     ACT;
       Ambazonia Recognitions Collaborative § 3. FOR RICO (18 U.S.C. § 1962(C))
  20   Council ( ARRC) Inc.; Southern           § 4. FOR RICO CONSPIRACY (18
  21   Cameroon Relief Fund Ltd; Ambazonia §          U.S.C. § 1962(D))
       Broadcasting Corporation; Ambazonia §       5. LIABILITY FOR AIDING AND
  22   Interim Government, entity form          §     ABETTING ACTS OF
       unknown; MORISC, entity form             §     INTERNATIONAL
  23
       unknown; Eric Tano Tataw, an             §     TERRORISM PURSUANT TO
  24   individual; and DOES 1-1000              §     18 U.S.C. § 2333(a) and 18
                                                §     U.S.C. §2339a
  25                                            §  6. LIABILITY FOR CONSPIRING
  26                                            §     IN FURTHERANCE OF ACTS
                                                §     OF INTERNATIONAL
  27                                                 -1-
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   1                                                      TERRORISM PURSUANT TO
                                                          18 U.S.C. § 2333(a) 18 U.S.C.
   2                                                      §2339a
                                                       7. PROVISION OF MATERIAL
   3
                                                          SUPPORT TO TERRORISTS IN
   4                                                      VIOLATION OF 18 U.S.C.
                                                          §2339a
   5                                                   8. NEGLIGENT INFLICTION OF
   6                                                      EMOTIONAL DISTRESS
                                                       9. PROVISION OF FINANCING
   7                                                      OF TERRORISM IN
   8                                                      VIOLATION OF 18 U.S.C. §
                                                          2339C(a)
   9                                                   10.PROVISION OF FUNDS FROM
  10                                                      WITHIN USA TO PLACE
                                                          OUTSIDE USA FOR AN
  11                                                      UNLAWFUL ACTIVITY 18
                                                          U.S.C. § 1956
  12
                                                       11.VIOLATION OF THE
  13                                                      EXPEDITION AGAINST
                                                          FRIENDLY NATION 18 U.S.C.
  14
                                                          § 960
  15
                                                   DEMAND FOR JURY TRIAL
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  27                                                 -2-
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   1                              I.    INTRODUCTION
   2         Plaintiffs are forced to bring this complaint using the “Doe” synonyms against
   3   these terrorist organizations because if their true identities are revealed, they will be
   4   targets for death, kidnappings, torture, or other heinous crimes, as committed by the
   5   armed groups which Defendants finance. When plaintiffs attorney filed a wrongful
   6   death complaint against two leaders of these defendant organizations, he has faced a
   7   minimum of three publicly posted death threats on Facebook against his life and that
   8   of his family, and many others on social media. This case involves terrorism. The
   9   Defendants are the corporate entities who, both individually and collectively, direct
  10   and control the armed Anglophone separatists groups, and facilitate the financing and
  11   material support of terrorism on behalf of the armed separatists groups in the Republic
  12   of Cameroon. It is these armed separatist groups that have killed plaintiff Jane Doe’s
  13   workers, tortured them, cut their fingers and limbs, and annihilated her business. It is
  14   the armed separatist groups that killed on April 4, 2019, the common law wife, and
  15   mother of his daughter, of plaintiff John Doe. This case also presents a case of clear
  16   civil and criminal liability because Defendants, in their public postings, notices, press
  17   releases, or communications, essentially admit – without using the words “material
  18   support of terrorism” – that they engage in actions which by USA laws, and as defined
  19   by the Supreme Court of the United States, equates to criminalized material support
  20   of terrorism.
  21         Plaintiffs, on behalf of themselves and all others similarly situated, and on
  22   behalf of CAVAT, who have suffered the death of family members, relatives,
  23   employees, agents, co-workers, laborers, and resulting from that, suffered severe
  24   emotional distress, harassment, anxiety, suffering, sleepless nights and other assorted
  25   grief and anguish due to the conduct, actions, participation, and material support of
  26   terrorism by Defendants Ambazonia Foundation Inc., Ambazonia Consulting Inc.,
  27   Ambazonia Relief Fund Inc., Ambazonia Recognitions Collaborative Council (
  28                                                 -1-
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   1   ARRC) Inc., Southern Cameroon Relief Fund Ltd, Ambazonia Broadcasting
   2   Corporation, Ambazonia Interim Government, entity form unknown, MORISC, entity
   3   form unknown (collectively “Defendants”) bring this action.
   4         Defendants are terrorist corporations and terrorist financing vehicles who
   5   conceived a way of scamming millions of Cameroonians from their hard earned
   6   money because of Cameroon’s linguistic differences – Cameroon is a bilingual
   7   country, with 20% of the population English Speaking, and 80% are French speaking,
   8   sort of like kind Canada, but with the English/French ratio reversed - to declare a
   9   secessionist “government” for the minority English language populations. They have
  10   collectively, on information and belief, already raised several million dollars through
  11   websites such as www.mytriptobuea.com, www.ambazoniagov.org, and multiple
  12   paypal and cashapp accounts through which they control, command, assist, provide
  13   expert advise, provide personnel, financial services, training, safehouses, weapons,
  14   lethal substances, and so on and forth. The owners and directors of the defendant
  15   corporate entities are all publicly engaging in acts constituting materially support of
  16   terrorism, of violent crimes of killings, kidnappings, murder, violation of students
  17   education rights, terrorism, destruction of property and infrastructure, money
  18   laundering. Accordingly to United Nations Estimates as of December 2018, the
  19   conflict in Cameroon has led to the loss of about 600 civilians, and created 30,000
  20   refugees living in Nigeria, and over 437,000 internally displaced Cameroonians
  21   suffering immeasurably. Most unfortunately, included in these statistics are
  22   employees of Jane Doe, most recently on April 3, 2019 for Jane Doe when her
  23   employee was shot – the third such incident in the past two years. For John Doe, his
  24   wife was shot on April 4, 2019.
  25         Terrorism is defined as “the unlawful use of violence and intimidation,
  26   especially against civilians, in the pursuit of political aims as,” and “international
  27   terrorism,” according to 18 U.S.C. § 2331 as “activities that involve acts or acts
  28                                                 -2-
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   1   dangerous to human life that are in violation of the criminal laws of the United States
   2   or of any State, that would be a criminal violation if committed within the jurisdiction
   3   of the United States or of any State.” Defendants provide material support of terrorism,
   4   including financing, to the armed separatists groups in Cameroon. Indeed, that is their
   5   raison d’etre, pardon the French.
   6          This case is not about inhibiting rights to free speech, or to engage in political
   7   advocacy, or as a rights group, and it expressly disavows any such intentions, but it is
   8   about their conduct, actions, material support, and participation in terrorism, which
   9   lead to plaintiffs irreparable injuries. Defendants have engaged in conduct and actions
  10   equating to “training”, “expert advice or assistance,” “service”, and providing
  11   “personnel” to the armed rebel fighters, which he has brought all under his control,
  12   leading to deaths of innocent civilians, including the parents and family members of
  13   plaintiffs.
  14          The loss of one’s life is never adequately compensated by monetary
  15   compensation, nor is the permanent loss of all economic interests of plaintiff.
  16   Accordingly, this complaint will also seek a Temporary Restraining Order,
  17   preliminary and permanent injunction, as well as declaratory relief, against any and
  18   all conduct, actions, participation, and material support of terrorism against
  19   Defendants, their promoters, organizations, supporters, accomplices, and DOES
  20   Defendants, who will be named once discovery gets going and they are identified.
  21                                    NATURE OF ACTION
  22          1.     This is an action for Temporary Restraining Order, Preliminary and
  23   Permanent Injunction, as well as damages against Defendants and DOES 1-5000,
  24   pursuant to the Antiterrorism Act, 18 U.S.C. § 2333 (“ATA”) for aiding, abetting,
  25   accessories to crime before and after the fact, and pursuant the Material Support of
  26   Terrorism Statutes 18 U.S.C. § 2333A, for knowingly providing material support and
  27   resources to armed separatist groups that carried out Attack that killed plaintiff’s Jane
  28                                                 -3-
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   1   Doe’s employees on April 3, 2019, plaintiff John Doe’s common law wife and mother
   2   of his minor daughter on April 4, 2019, as wells attacks throughout circa October 2016
   3   to present that has killed hundreds of innocent civilians, who are the parents, children,
   4   and spouses, of US citizens and residents natives of Cameroon. A Congressional
   5   excellent rendition of the history and purposes of 18 U.S.C. § 2333A (“the material
   6   support of terrorism statutes”) can be reviewed here.1
   7              2.       The ATA’s civil remedies have served as an important means for
   8   enforcing the federal criminal anti-terrorism provisions since the early 1990s.
   9              3.       Congress enacted the ATA in October 1992 as a legal complement to
  10   criminal penalties against terrorists that kill or injure Americans abroad, specifically
  11   intending that the civil provisions would not only provide a mechanism for
  12   compensating victims of terror but also serve as an important means of depriving
  13   terrorists of financial resources to carry out attacks.
  14              4.       Following the bombing of the World Trade Center in New York by al-
  15   Qaeda in1993, Congress targeted terrorist resources again by enacting 18 U.S.C. §
  16   2339A in September 1994, making it a crime to provide material support or resources
  17   knowing or intending that they will be used in preparing or carrying out terrorist acts.
  18              5.       In April 1996, Congress further expanded the effort to cut off resources
  19   to terrorists by enacting 18 U.S.C. § 2339B, making it a crime to knowingly provide
  20   material support or resources to a designated foreign terrorist organization.
  21              6.       In the wake of the terror attacks on the United States by al-Qaeda on
  22   September 11, 2001 killing nearly 3,000 Americans, Congress amended the “material
  23   support” statutes, 18 U.S.C. §§ 2339A-B, via the PATRIOT Act in October 2001 and
  24   the Intelligence Reform and Terrorism Prevention Act of 2004, to impose greater
  25
  26
  27   1
           https://fas.org/sgp/crs/natsec/R41333.pdf

  28                                                    -4-
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   1   criminal penalties for violating these statutes and to expand the definition of “material
   2   support or resources” prohibited thereby.
   3         7.      The Ambazonia Interim Government (“AIG”) is the self-anointed
   4   “government” of a most violent and repressive Ambazonian separatist movement,
   5   and, upon the coordination and planning and support and conspiracy of co-
   6   Defendants, it has pooled together all armed separatists fighters in their “Ambazonia”
   7   region under its Umbrella in joint command, control, and coordination with co-
   8   defendants.
   9         8.      In reality, the AIG and co-Defendants are a RICO criminal enterprise, a
  10   scam, formed under the guise of several non-profit corporations which are co-
  11   defendants, and engaging in the material support of terrorism in the conflict region of
  12   Cameroon.
  13         9.      These non-profit corporations, on information and belief, materially
  14   misrepresented their true intentions to the IRS in seeking non-profit 501c status. A
  15   complaint referral against each of them will be made to the IRS and to the Department
  16   of Assessments and Taxation, Maryland.
  17         10.     Corporate defendants, as non profit corporations, are not supposed to
  18   engage in political and legislative lobbying which they consistently do, nor the
  19   purchase of firearms, or material support of crimes and violence – they have raised
  20   funds, and financed armed separatists in Cameroon which have killed plaintiffs
  21   laborers, cut their fingers, burnt their houses, if they disobeyed their edicts, such as,
  22   “ghost town,” which prevents any civilian from stepping out of their home or going
  23   to work.
  24         11.     Officially, defendants aim to raise the cost of Cameroon's government in
  25   the North West and South West regions of Cameroon to be higher than the profits the
  26   country gets from there; their aim is to make North-West and South-West regions of
  27   Cameroon “ungovernable” ( as publicly declared), and to coerce, intimidate, kill,
  28                                                 -5-
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   1   kidnap, harm any innocent civilians who do not obey or agree or subscribe to their
   2   political goals.
   3         12.    At several points in 2018, Amnesty International and Human Rights
   4   Watch have accused the AIG separatists, materially supported by co-Defendants, of
   5   violently enforcing the boycott of government schools by destroying over 40 schools
   6   and assaulting teachers who refused to comply. They’ve also been accused of
   7   kidnapping civilians suspected of working with the government.
   8         13.    Defendants knowing provide material support to the AIG, its fighters,
   9   agents, and related organizations, with the knowledge and intent, that they execute
  10   violent acts and crimes, in violation of USA laws, and such violent acts and crimes,
  11   not only harm Cameroonians living within Cameroon, but also a substantial portion
  12   of USA citizens of Cameroonian origin, whose parents, siblings, children, extended
  13   family are killed, businesses ruined, property stolen, and thus they suffer intolerable
  14   pain and anguish; or kidnappings, and the US based Cameroonians are contacted to
  15   pay ransom, as happens hundreds of times.
  16         14.    By providing material support and platform, including holding fund
  17   raising activities for the armed separatist groups in Cameroon that are causing death
  18   to and irreparable injuries to plaintiffs,     Defendants have violated the federal
  19   prohibitions on providing material support or resources for acts of international
  20   terrorism (18 U.S.C. § 2339A), and committed acts of international terrorism as
  21   defined by 18 U.S.C. § 2331, as well as violated numerous other Federal and State
  22   criminal laws, as described further below. Accordingly, Defendants are liable pursuant
  23   to 18 U.S.C. § 2333 to the plaintiffs, who were injured by reason of acts of
  24   international terrorism.
  25         15.    Plaintiffs’ claims are based upon Defendants command, control, and
  26   operation of the armed separatist fighters that cause them irreparable harm and injury,
  27   and their provision of the financing and fund raising vehicle, corporate entity,
  28                                                 -6-
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   1   appearance of legitimacy infrastructure, platform, which provides material support to
   2   AIG and related armed separatists in Cameroon.
   3                                    THE PARTIES
   4         16.    Jane Doe, a U.S.A citizen, and a resident of this County, has had her
   5   employees killed, fingers cut, feet sliced, houses burnt, when ever armed separatists
   6   realize that they have gone to work to her place of business. The latest killing of Jane
   7   Doe’s employee occurred on April 3, 2019 in the conflict region of Cameroon.
   8         17.    John Doe is a national of Cameroon. His common law wife, and mother
   9   of his daughter, was killed by armed separatists on April 4, 2019, because she violated
  10   their “lockdown” which they decreed, by and through their leaders residing here in
  11   USA, that no one should step outside of their homes during the period April 4th through
  12   April 14th, 2019.
  13         18.    The Cameroon Association of Victims of Ambazonia Terrorism
  14   (“CAVAT”) is a foreign non-profit corporation, with headquarters in Yaounde,
  15   Cameroon. It is comprised of victims of Ambazonia Terrorism, violence, and other
  16   crimes, to themselves, their family members, loved ones, and friends. The acts of
  17   violence committed against members of CAVAT and their families include the
  18   killings or assassinations of their family members, torture, maiming, kidnapping,
  19   arson against their property, and intimidation. The latter “intimidation” occurs to
  20   compel them to scribe to “separation” from Cameroon.
  21         19.    The nondisclosure of Jane Doe’s identity, as well as that of John Doe, is
  22   necessary for Jane Doe and her family’s life, as Defendants are currently operational
  23   and engaging in consistent acts of terrorism. As the 9 th Circuit has held, pseudonyms
  24   may be used to protect a party from “injury”, and “a party may preserve his or her
  25   anonymity in judicial proceedings in special circumstances when the party’s need for
  26   anonymity outweighs prejudice to the opposing party and the public’s interest in
  27   knowing the party’s identity.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d
  28                                                 -7-
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    1   1058, 1067-68 (9th Cir. 2000)(quoting United States v. Doe, 655 F.2d 920, 922 n.1
    2   (9th Cir. 1981). Plaintiffs will seek leave of court to proceed under a pseudonym.
    3         20.    DOES Plaintiffs 1 -1000 are both USA citizens and Cameroon citizens,
    4   whether living in the USA or in Cameroon, who have suffered injury or harm, whether
    5   to themselves, or death of their parents and siblings, or loss of all economic interests
    6   and property, due to the actions of Defendants.
    7         21.    Like minded Plaintiffs have setup a website, www.cameroonvictims.org,
    8   where similar plaintiffs, whether residing in the USA or in Cameroon, may submit in
    9   confidentiality the story of their loss, so that plaintiff’s attorney may join them in this
   10   lawsuit.
   11         22.    Defendant Ambazonia Foundation Inc., is a Maryland non-profit
   12   corporation. It has obtained IRS 501c non profit status.
   13         23.    Defendant Ambazonia Consulting Inc. is a Maryland stock corporation.
   14   It’s leaders are Etchu Tabenyang and Samuel Ikome. The latter, Samuel Ikome, is the
   15   self-declared “interim president” of the non-existent “Federal Republic of
   16   Ambazonia.” He has approved all actions of defendants, in his capacity as president.
   17         24.    Defendant Ambazonia Relief Fund Inc. is a Maryland non-profit
   18   corporation. It’s founders are Ebenezer M. Akwanga, John Mbah Akuroh, and Elvis
   19   Kometa, individuals who, in their social media video and written posts, there is clear
   20   evidence of them ordering the killings, torture, kidnappings, arson of property, of
   21   civilians and others who they consider as enemies or as “occupiers.”
   22         25.    Defendant Ambazonia Recognitions Collaborative Council ( ARRC )
   23   Inc. is a Maryland non-profit corporation. It’s founders Jude Ambe, Boh Herbert,
   24   Lambert Mbom, Jude Ozughen are individuals who in their social media video and
   25   written posts, there is evidence of them aiding and abetting, and conspiring, and acting
   26   as accessories, to the ordering, killings, torture, kidnappings, arson of property, of
   27   civilians and others who they consider as enemies or as “occupiers.”
   28                                                 -8-
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    1             26.     MoRISC is headed by Boh Herbert, one of the founding fathers of ARRC
    2   above in paragraph 23, with the business form of MoRISC unknown, whose website
    3   is at: https://morisc.org/.
    4             27.     Defendant Ambazonia Broadcasting Corporation is a Maryland non –
    5   profit corporation. It’s founder fathers are Sebastain Mbariku, George Fon, and Henry
    6   Mokube.
    7             28.     Defendant Ambazonia Interim Government, form of business or
    8   association uknown, is an organization that has declared itself the “government” of
    9   the “Ambazonia” people. It’s website notes it is the “Interim Governmetn Official Site
   10   Federal Republic of Ambazonia.”2
   11             29.     Defendant Southern Cameroon Relief Fund Ltd is a Maryland non-profit
   12   corporation. It’s founders are Chistensia Asong, and Eric Tataw. We have attached
   13   eight separate videos as evidence in related pleadings where Eric Tataw orders his
   14   fighters to cut the limbs, hands, or other body organ of anyone who does not obey his
   15   edicts or approves of his separatist movement.
   16             30.     Defendant Eric Tano Tataw, an individual, is a resident of Hyattsville,
   17   Maryland. Eric Tataw has consistently ordered his fighters to kill, cut the hands and
   18   limbs, of anyone who opposes his separatists views, and his orders, posted on
   19   Facebook on or about April 1, 2019, are a direct cause of the death of plaintiff’s
   20   employee and John Doe’s wife. Eric Tataw is also the founder of the Southern
   21   Cameroon Relief Fund Ltd.
   22             31.     DOES Defendants 1 through 5000 are US residents, nationals, citizens,
   23   who are natives of Cameroon, who have provided financial and other material support,
   24   including training, expert advice or assistance, service, and personnel, to named
   25
   26
   27   2
            https://www.ambazoniagov.org/

   28                                                    -9-
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    1   defendants and related entities in violation of Federal and State Anti-terrorism laws,
    2   and other criminal statutes.
    3
    4                              JURISDICTION AND VENUE
    5
    6         32.    The Court has jurisdiction over this case under 28 U.S.C. §1331 (federal
    7   question jurisdiction); and 28 U.S.C. §1332 (diversity jurisdiction).
    8         33.    Jurisdiction over this action further exists pursuant to 28 U.S.C. §1332,
    9   as there is complete diversity of citizenship between the parties and the amount in
   10   controversy herein exceeds $75,000.00, exclusive of costs.
   11         34.    Venue lies in the Central District of California because one of the
   12   plaintiffs resides in this district, and pursuant to 18 U.S.C. §1332.
   13         35.    Venue is further proper in this district pursuant to 18 U.S.C. §2334(a).
   14         36.    The defendant are subject to jurisdiction pursuant to 28 U.S.C. §1331, in
   15   that, as set forth in detail below, this action: seeks money damages against Defendants
   16   for injury and death and loss of business and property caused by Defendants, which
   17   constitutes an act of "international terrorism" in the United States as defined in 18
   18   U.S.C. §2331. Because of Defendants material support of terrorism and violence, it
   19   caused the deaths of plaintiffs and their loved ones, as well as total annihilation,
   20   ongoing, of plaintiff Jane Doe’s business.
   21         37.    The Defendants are also subject to jurisdiction pursuant to 28 U.S.C.
   22   §1331 in that, as set forth in detail below, this action seeks money damages against
   23   Defendants for injury and/or death occurring in the United States and caused by the
   24   tortious act or omission Defendants and/or one or more of his agents or partners acting
   25   within the scope of their agency or partnership.
   26
   27                              II.   FACTUAL ALLEGATIONS
   28                                                -10-
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    1
    2         A. LEGAL BACKGROUND: ANTITERRORISM LEGISLATION
    3               i.      The Antiterrorism Act (“ATA”)
    4         38.        In the 1980’s, terrorist groups carried out a number of major terror
    5   attacks around the world, killing and injuring many Americans abroad.
    6      39. Among these terror attacks were:
    7               a. The April 1983 suicide bombing of the U.S. Embassy in Beirut, Lebanon,
    8                    killing 63people, including 17 Americans;
    9               b. The October 1983 suicide bombing of U.S. Marine barracks in Beirut,
   10                    Lebanon, killing 241 U.S. Marines and injuring more than 100;
   11               c. the December 1983 terrorist bombings of the U.S. Embassy and the
   12                    residential quarters of American company Raytheon in Kuwait;
   13               d. The September 1984 terrorist bombing of a U.S. Embassy annex
   14                    northeast of Beirut, Lebanon;
   15               e. The June 1985 hijacking of TWA flight 847;
   16               f. The October 1985 hijacking of the Achille Lauro cruise ship and murder
   17                    of wheelchair-bound American Leon Klinghoffer; and
   18               g. The December 1985 terrorist bombings of the Rome and Vienna airports.
   19
              40.        In response to these attacks, Congress in 1986 amended the U.S. Criminal
   20
        Code, Title 18, Part I, to add a new chapter titled, “Extraterritorial Jurisdiction Over
   21   Terrorist Acts Abroad Against United States Nationals.”
   22
              41.        This new chapter contained a new section titled, “Terrorist acts abroad
   23
        against United States nationals,” providing criminal penalties for killing, conspiring,
   24
        or attempting to kill a national of the United States, or engaging in physical violence
   25
        with the intent to cause serious bodily injury to a national of the United States or that
   26
        results in serious bodily injury to a national of the United States.
   27
   28                                                -11-
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    1          42.     In addition, Congress later enacted the ATA, which established a private

    2   cause of action for U.S. nationals injured by acts of international terrorism, as a legal
        complement to the criminal penalties against terrorists that kill or injure Americans
    3
        abroad.
    4
    5          43.     In enacting the ATA, Congress specifically intended that the civil cause
    6   of action would not only provide a mechanism for compensating victims of terror, but
    7   also serve as an important means of depriving terrorists of financial resources to carry
    8   out attacks.
    9
               44.     As the ATA was being considered in Congress, the State Department’s
   10   Deputy Legal Advisor, Alan J. Kreczko, testified before the Senate Judiciary
   11   Committee’s Subcommittee on Courts and Administrative Practice that this proposed
   12   bill “will add to the arsenal of legal tools that can be used against those who commit
   13   acts of terrorism against United States citizens abroad.”3
   14          45.     The Deputy Legal Advisor also testified:
   15          “[T]his bill will provide general jurisdiction to our federal courts and a cause of
   16          action for cases in which an American has been injured by an act of terrorism
               overseas.
   17          We view this bill as a welcome addition to the growing web of law we are
               weaving against terrorists. . . . The existence of such a cause of action . . .may
   18
               deter terrorist groups from maintaining assets in the United States, from
   19          benefiting from investments in the U.S. and from soliciting funds within the
               U.S. In addition, other countries may follow our lead and implement
   20          complimentary national measures, thereby increasing obstacles to terrorist
   21          operations.
               Moreover, the bill may be useful in situations in which the rules of evidence or
   22          standards of proof preclude the U.S. government from effectively prosecuting
   23          a criminal case in U.S. Courts. Because a different evidentiary standard is

   24
   25
        3
         “Statement of Alan J. Kreczko, Deputy Legal Adviser, On S. 2465: A bill to provide a new civil cause
   26   of action in federal court for terrorist acts abroad against United States nationals,” Before the
        Subcommittee on Courts and Administrative Practice of the Senate Judiciary Committee (July 25,
   27   1990), https://www.state.gov/documents/organization/28458.pdf.
   28                                                        -12-
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    1             involved in a civil suit, the bill may provide another vehicle for ensuring that
                  terrorists do not escape justice.”4
    2
                  46.       Likewise, Senator Grassley, one of the sponsors of the bill,
    3
        explained a purpose of ATA’s civil cause of action as follows:
    4
    5             “The United States must take a strong stand against terrorism. The Department
                  of State testified that this bill would add to the arsenal of legal tools that can be
    6
                  used against those who commit acts of terrorism against U.S. citizens abroad.
    7             ...
                  Now is the time for action. Now is the time to strengthen our ability to both
    8             deter and punish acts of terrorism.
    9             We must make it clear that terrorists’ assets are not welcome in our country.
                  And if they are found, terrorists will be held accountable where it hurts them
   10             most: at their lifeline, their funds.”5
   11
                  47.         In July 1992, a Senate Committee Report explained that the ATA’s
   12
        treble damages provision “would interrupt, or at least imperil, the flow of money” to
   13
        terrorist organizations.
   14
                  48.          In October 1992, Congress enacted ATA’s civil provisions,
   15   including 18 U.S.C. §2333.
   16
   17             B.    The “Material Support” Statutes and Regulations
   18
   19             49.     On February 26, 1993, a group of al-Qaeda terrorists detonated a truck
        bomb under the North Tower of the World Trade Center in New York City, attempting
   20
        to cause the collapse of both towers and the death of thousands of Americans.
   21
                  50.       Although the damage from the World Trade Center bombing was
   22
        limited, it nevertheless killed six people and injured more than one thousand.
   23             51.         In response, Congress again took aim at the resources available to
   24   terrorists in September 1994 and enacted 18 U.S.C. § 2339A, making it a crime to
   25
   26   4
            Id.
        5
         36 Cong. Rec. 26716-26717 (Oct. 1, 1990), https://www.gpo.gov/fdsys/pkg/GPO-CRECB-1990-
   27   pt19/pdf/GPO-CRECB-1990-pt19-1.pdf.
   28                                                  -13-
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    1   provide material support or resources to terrorists, knowing or intending that they
    2   would be used for terrorist acts.

    3         52.    DEFENDANTS and DOES Defendants engage in the provision of
        material support of terrorism through their AIG and its agents and soldiers, as
    4
        Defendants conduct through fund raising meetings, declarations for actions which
    5
        incite immediate and imminent hard to innocent civilians, their officially declared
    6
        aim of conduct intimidation and threats against civilians, of kidnappings, and their
    7   acknowledged kidnappings, killings, of civilians they find non-compliant with their
    8   civilian goals. DEFENDANTS provide expert advice or assistance, personnel,
    9   training, and service to the AIG and related armed separatists who conduct acts of
   10   violence, intimidation, killings against civilians in the Anglophone regions of

   11   Cameroon.
              53.    18 U.S.C. § 2339C implements the International Convention for the
   12
        Suppression of the Financing of Terrorism. It proscribes the “unlawful[] and
   13
        willful[]” provision or collection of funds with the intention or knowledge that they
   14
        are to be used, in full or in part, to carry out a terrorist attack. 18 U.S.C. § 2339C(a)
   15   (2014). The predicate acts are offenses prohibited under international law by a
   16   counterterrorism treaty, id. § 2339C(a)(1)(A), (e)(6)–(7), or an act “intended to cause
   17   death or serious bodily injury to a civilian, or to any other person not taking an
   18   active part in the hostilities in a situation of armed conflict, when the purpose of

   19   such act, by its nature or context, is to intimidate a population, or to compel a
        government or an international organization to do or to abstain from doing any
   20
        act[.]” The intentions of the defendants are “separation” from Cameroon, and their
   21
        terrorist, violence, crimes are all acts intended to cause the “government” of
   22
        Cameroon to allow them to separate. They have publicly declared that, if through
   23   violence and guerilla warfare, the costs of remaining in their “region” is higher than
   24   the benefits of that region continuing to be part of Cameroon, then the government
   25   of Cameroon will allow the “separation.” Hence, defendants have adopted the most
   26   heinous acts of terrorism to scare away the Cameroon government. Id.
   27   § 2339C(a)(1)(B).

   28                                                -14-
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    1
                       PLAINTIFF SPECIFIC FACTUAL ALLEGATIONS AGAINST
    2
                       CORPORATE DEFENDANTS
    3
    4         54.      Plaintiffs seek such relief against DEFENDANTS for the attributable

    5   acts of the armed separatist groups in the North West and South West regions of
    6   Cameroon, its bodies, alter -egos, and officers, employees and agents acting within
    7   the scope of their office, employment or agency by DEFENDANTS knowingly

    8   providing material support and resources to the Armed separatists and facilitating the
    9   deaths of hundreds of others, in that, as set forth in detail herein, they:
   10               a. Provide training, lodging, weapons, expert assistance, and financial
   11                  support to armed separatists groups to engage in terrorist activities,
   12                  including intimidation of civilians, and destruction of property.
   13               b. Provide financing for the terrorist training camps in the North-West and
   14                  South-West regions of Cameroon where Armed separatists indoctrinated
   15                  and taught their soldiers how to carry out guerilla warfare, intimidation,
   16                  violence, and terrorism against any military or uncooperative or
   17                  unsupportive civilians.
   18               c. Provide critical logistical support and resources to Armed separatists
   19                  around North-West and South-West regions of Cameroon, funding safe

   20                  houses, transferring Armed separatists money, weapons and equipment
   21                  across international borders and other assistance, all of which enabled
   22                  Armed separatists to conduct the attacks that killed plaintiffs parents and

   23                  kills scores of other civilians, as well as resulted in total economic losses
   24                  for plaintiff.
   25               d. Actively supported armed separatist groups in its final preparations for

   26                  the hit and run attacks and kidnappings, through a network of the their
   27                  soldiers, officers, and/or agents who met with and aided the AIG killers,
   28                                                -15-
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    1                providing them with money, cover, advice, contacts, transportation,
    2                assistance and other material support and resources.
    3         55.    Provide expert advice or assistance to the AIG and related organizations
    4   through their regular Facebook postings, YouTube videos, which advises armed
    5   separatist fighters how, when, to act, stance to adopt, how to react, and instructions on
    6   punishments to meter to innocent civilians who don’t obey, including plaintiffs
    7   parents.
    8         56.    All the above-noted actions are in violation of 18 U.S.C. §§ 2339A and
    9   related anti-terrorism and criminal statues, the statutes that prohibits the provision of
   10   material support with the knowledge or intent that the support be used to carry out a
   11   terrorist attack, and other criminal statutes.
   12         57.    Due to the above-noted actions, at several periods circa September 2016
   13   to present, whenever plaintiff’s laborers, workers, agents go to plaintiff’s place of
   14   business, they are killed, kidnapped, their fingers cut, maimed, tortured, or other
   15   despicable act committed against them, all arising from the instructions of Defendants.
   16
   17         FACTUAL ALLEGATIONS AGAINST INDIVIDUAL DEFENDANT
   18         ERIC TANO TATAW
   19
           58.In a video posted on the online platform SCBC TV, on March 31, 2019, attached
   20
              as an Exhibit A to the brief in support of TRO, and manually filed, file identified
   21
   22         as VID-20190402-WA0054.mp4, a 6:59 minute video, defendant, a self-
   23         appointed, separatist Ambazonia “President”, in one of his numerous material
   24
              support of terrorism public postings declared that no Festival should take place
   25
   26         in Limbe, Cameroon. And if anyone steps out to celebrate the festival, they

   27         should be killed. In compliance with these instructions, defendant Eric Tataw’s
   28                                                -16-
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    1         fighters, in complicity with co-defendant corporate entities, killed John Doe’s

    2         spouse, killed and tortured Jane Doe’s workers who wanted to go to work and
    3
              participate in the Festival.
    4
           59.In the 6 video posts of defendant Eric Tataw, attached in the Appendix of
    5
    6         Evidence of the TRO, each time Eric Tataw issued a public policy that a “lock
    7         down” is in effect in the conflict regions of Cameroon, plaintiff Jane Doe’s
    8
              employees are unable to work as they are scared of the retaliation of his armed
    9
   10         separatists, as well as they have seen their colleagues hands chopped off and

   11         tortured for disobeying Tataw’s lockdown orders.
   12
           60.Every time any of plaintiff Jane Doe’s employees tried to get to work, following
   13
              the publicly posted videos of Eric Tataw, they were hurt and beaten, and
   14
   15         promised death, by armed separatists fighters.
   16
   17         DEFENDANTS’s specific intent and knowledge of the armed separatists
              terrorist agenda from October 2016 to present.
   18
              61.    At all relevant times mentioned herein, DEFENDANTS adopted an
   19
        extremist version of separation from Cameroon, seeking violence and terror and
   20
        kidnappings and intimidation against any non-compliant civilian as the means to
   21
        achieve secession from the Republic of Cameroon.
   22
              62.    As detailed herein, DEFENDANTS’s AIG agents, partners, and joint
   23
        venture associates, continued to provide material support and resources for Armed
   24
        separatists through late 2016, and including May 20, 2018 to present, combined
   25
        actions that led to plaintiffs loss by brutal killings of employees, laborers, agents, and
   26
        total loss of economic activity at plaintiff’s place of business.
   27
   28                                                -17-
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    1
    2         DEFENDANTS's tortious acts were a proximate cause of the Attacks
              causing the death of plaintiffs employees, torture and maiming of plaintiffs
    3         employees, and total loss of operations and business for over two years.
    4
              63.    DEFENDANTS and his accomplices, and DOES Defendants, set in
    5
        motion, a series of postings, threats, warnings, to any Anglophone civilian who dares
    6
        not obey them, or who they consider “French speaking”, should be killed, maimed,
    7
        and their property destroyed or burnt.
    8
              64.    Whenever plaintiffs employees, laborers, agents, disobey the mandate of
    9
        Defendants emanating from the USA, they are killed, tortured, maimed, or other
   10
        atrocity befalls them.
   11
                     DEFENDANTS's direct funding of the armed separatists.
   12
              65.    DEFENDANTS is responsible for coordinating and raising substantial
   13
        funding for separatists armed groups that are vital to the operation of that terrorist
   14
        organization and its preparations for the attacks that kill plaintiff’s employees, maims
   15
        and tortures them, and burns their property. father, as well as hundreds of civilians:
   16
              66.    Top ranking DEFENDANTS sympathizers made substantial financial
   17
        contributions to defendants separatist fighters;
   18
              67.    From 2017 through and including present            DEFENDANTS, acting
   19
        through their agents, joint venture associates, and partners, including Does Defendants
   20
        1-5000, have raised money through meetings, groups, social media, to support their
   21
        AIG fighters and related organizations in executing their stated political aims and
   22
        official positions, which includes terrorism as defined in USC code against innocent
   23
        civilians. Some of these civilians have relatives abroad here in the USA, and their
   24
        death, torture, kidnapping directly affects their USA citizen families.
   25
   26
               DEFENDANTS's material support of armed separatists camps are used
   27         to indoctrinate and provide terrorist training for armed separatists groups
   28                                                -18-
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    1         68.      DEFENDANTS’s armed separatists and others involved in supporting
    2   violence, terrorism, and other attacks by armed separatist groups from late 2016 to
    3   present, were indoctrinated and given their terrorist training necessary to prepare for
    4   and execute attacks that killed plaintiffs parents, and other attacks at one or more
    5   defendant owned and controlled terrorist training camps located in the bushes of the
    6   North-West and South-West regions, far from where there are roads or easy
    7   accessibility.
    8         69.      Prior to and including 2016 to present,       DEFENDANTS provided
    9   logistical support to Armed separatists in additional ways, as will be determined
   10   through further investigation, disclosures and discovery of DEFENDANTS.
   11
   12         DEFENDANTS's material support for separatists armed groups’
              planning and execution of the attacks that killed plaintiff’s employees,
   13         maimed them, tortured them, and burnt their property.
   14         70.        DEFENDANTS provided material support and resources for separatist
   15   armed groups and their fighters directly linked to the actual planning and execution of
   16   the Attacks that killed plaintiff’s employees and laborer at various dates from late
   17   2016 to present, various torture actions, maiming, and destruction of property. This is
   18   in addition to numerous other attacks numbering in the hundreds from late 2016 to
   19   present, attacks against students who seek to go to school, government officials, and
   20   other innocent civilians. His material support of terrorism and crimes includes:
               i. Fund raising
   21
              j. Using their Facebook posts, or that of their leaders such as Eric Tano Tataw
   22
                    and Chris Anu, to provide instructions on strategy, policy, and AIG
   23
                    regulations
   24
              k. Recruiting of armed separatists
   25
              l. Assistance with procuring and providing weapons, equipment, and other
   26
                    tangible materials.
   27
   28                                                -19-
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    1             m. Coordination with other separatists groups abroad and in Cameroon

    2             n. Leadership of the AIG in the USA
                  o. Expert advice and assistance on how to obtain separation by violence and
    3
                        force from Cameroon
    4
                  p. Assistance with the training of armed separatists
    5
                  q. Using other social media such as email, twitter, Skype, WhatsApp to
    6
                        promote AIG violent agenda, plan the dates and times of attacks, and other
    7
                        activities in violation of USA laws.
    8
                  r. Recruiting of administrative personnel in the USA to assist the AIG in all
    9
                        aspects of its goals.
   10
                  s. Providing media relations service, coordination services, for the AIG in the
   11
                        USA; and so on and forth, without limitation.
   12
   13              DEFENDANTS's domination and control of armed separatists conduct
   14             71.      As set forth herein, at all relevant times, DEFENDANTS use their
   15   position from the USA to effectuate all the various services, conduct, and duties,
   16   without limitation, listed in the preceding paragraphs.
   17             72.      A major conference was held during the weekend of March 29, 2019
   18   through March 31, 2019. At that conference, all major leaders addressed their
   19   participants and vowed to support the armed separatists with in Cameroon with
   20   weapons, ammunition, explosives, provide expert assistance, financing, facilities, and
   21   leadership. Defendants named herein, and their corporate directors, founders, were
   22   present. Select YouTube videos of their proclamations seeking war, killings of those
   23   that oppose them, and material support of the armed separatists can be found here.6 7
   24             Defendants Expedition Against a Friendly Nation
   25
   26   6
            https://www.youtube.com/watch?v=zWROS9_R2eQ
   27   7
            https://www.youtube.com/watch?v=lNHvE6Se3Uc

   28                                                   -20-
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    1              73.      For the weekend March 29th through March 31, Defendants jointly
    2   organized the All Southern Cameroons People Conference. 8
    3              74.     On information and belief, all defendants, except individual defendant
    4   Eric Tano Tataw, attended this conference.
    5              75.     During this Conference, in lawless, imminent harm and threats
    6   incitement, and material support of terrorism, several of the founders and directors of
    7   corporate defendants vowed to raise funds, purchase weapons, kill members of the
    8   Cameroon government and military, go to war against Cameroon, intimidate civilians
    9   who don’t follow them, and other crimes. They resolved that war is the solution to
   10   their “separation” aims, and its either death or “separation.” Videos of this conference
   11   are readily available on YouTube, and features the corporate defendant directors and
   12   founders as they keynote speakers.9
   13              76.     A similar conference by defendants was held in Berlin on April 12 to
   14   April 14, 2019. Videos of the war and violent rhetoric, taking up arms, guns, and using
   15   force to achieve their “separation” against Cameroon is available here. 10
   16              77.     Since their formation, defendants have held multiple such meetings, to
   17   raise arms, overthrow the government of Cameroon, form the enterprise which they
   18   formed for such acts, and support armed separatists in Cameroon in manners
   19   constituting the material support of terrorism.
   20              78.     In engaging in violation of 18 U.S.C. 1960, defendants caused plaintiffs
   21   irreparable harm and injury, continue to do so, and will continue to so do.
   22                            FIRST CAUSE OF ACTION

   23
        8
            https://www.eventbrite.com/e/all-southern-cameroons-peoples-conference-ascpc-tickets-57362144719#
   24
        9
            https://www.youtube.com/results?search_query=all+southern+cameroons+people%27s+conference+in+washington+
   25
        dc
   26   10
             https://www.facebook.com/AmbaASSUC/?__tn__=%2Cd%2CP-R&eid=ARDS0D4-
   27   JsaAOFVUNRpiRoGhZ40IxjfWpdux08KPG_C6gYh-nbwIS63uwNE0J_-gX7V3HrkbJQOOTQfT

   28                                                    -21-
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    1         TO RECOVER PERSONAL INJURY PURSUANT TO THE ANTI-
              TERRORISM ACT
    2
              79.    Plaintiffs repeat and re-allege all of the preceding paragraphs as if fully
    3
        set forth herein.
    4
              80.    This action is brought pursuant to 18 U.S.C. § 2333(a) for the injuries
    5
        and deaths and harm suffered by U.S. nationals’ Jane Doe’s employees, laborers,
    6
        agents, and others in Cameroon.
    7
              81.    Those attacks constituted acts of international terrorism pursuant to 18
    8
        U.S.C. §2331 that violated federal and state laws against murder, kidnapping, assault,
    9
        torture, maiming, including but not limited to 18 U.S.C. §2332b (prohibiting terrorist
   10
        acts of kidnapping, assault and murder).
   11
              82.    Pursuant to 18 U.S.C. §2333(a), (d), DEFENDANTS aided and abetted
   12
        armed separatists through numerous acts detailed herein by knowingly providing it
   13
        with substantial material assistance to prepare and carry out an act or acts of
   14
        international terrorism.
   15
              83.    Pursuant to 18 U.S.C. §2333(a), (d), DEFENDANTS conspired with
   16
        Armed separatists and others to provide it with substantial material support and
   17
        resources, with the shared understanding, knowledge and intent that said support and
   18
        resources would be used by Armed separatists to prepare and carry out an act or acts
   19
        of international terrorism.
   20
              84.    The others in the conspiracy currently known to plaintiffs are not named
   21
        herein, but include Ayaba Cho, Ivo Tapang, Boh Hebert, Akwanga Ebenezer, Mark
   22
        Bareta, Ikome Sako, Capo Daniel, Christopher Anu Fobeneh and others.
   23
              85.    Pursuant to §2333(a), DEFENDANTS committed an act or acts of
   24
        international terrorism, as defined in 18 U.S.C. § 2331(1)(A), in violation of federal
   25
        and state criminal laws, or that would have been a criminal violation if committed
   26
   27
   28                                                -22-
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    1   within the United States or any state, including but not limited to a violation of the
    2   following:
    3
    4               a. 18 U.S.C. §2(a) — Aiding, abetting, counseling, commanding, inducing
                       or procuring a federal crime;
    5               b. 18 U.S.C. §371 — Conspiring to commit a federal crime;
                    c. 18 U.S.C. §2332b — Conspiring to commit an act of terrorism;
    6
                    d. 18 U.S.C. §2339A - Providing material support to terrorists;
    7               e. 18 U.S.C. §2339C - Prohibitions against the financing of terrorism;
                    f. CA Penal Code §31 — Accomplice liability – Aiding and Abetting Law;
    8               g. CA Penal Code §182 - Criminal Conspiracy
    9               h. CA Penal Code §32 – Accessory after the fact
   10         86.      DEFENDANTS' conduct amount to a violation of 18 U.S.C. § 2(a)

   11   because DEFENDANTS intentionally aid and abet and counsel the commission of a

   12   criminal act or acts of international terrorism by Armed separatists, including its

   13   operatives, by providing the terrorist organization with material support, resources and

   14   funding with the knowledge that Armed separatists would use such assistance to

   15   prepare for and commit such a criminal act or acts.

   16         87.      DEFENDANTS' conduct amount to a violation of 18 U.S.C. §371

   17   because it conspires with Armed separatists and others to provide it with substantial

   18   material support and resources with the shared understanding, knowledge and intent

   19   that said support and resources would be used by Armed separatists to prepare for and

   20   carry out a criminal act or acts of international terrorism.

   21         88.      DEFENDANTS' conduct amount to a violation of 18 U.S.C. §2339A in

   22   that they provide material support or resources for Armed separatists and/or conspired

   23   with Armed separatists and others to provide material support or resources for Armed

   24   separatists, with the knowledge or intent that they would be used in preparation for,

   25   or in carrying out a violation of the statutes specified in 18 U.S.C. §2339A, including

   26   18 U.S.C. §2332b (prohibiting terrorist acts of kidnapping, assault and murder) and

   27   violation of others laws as itemized in paragraph 80.

   28                                                -23-
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    1         89.      DEFENDANTS's conduct amounted to a violation of relevant state
    2   criminal laws on facilitating, aiding and abetting a crime, and conspiracy, including
    3   but not limited to those cited above, in that it:
    4               a. intentionally aided, abetted and counseled Armed separatists by
    5                  providing it with material support, resources and funding with the
    6                  knowledge that Armed separatists would use such assistance to commit
    7                  an act or acts of international terrorism; and/or
    8               b. believing it was probably rendering aid in the form of material support
    9                  or resources and funds to Armed separatists to engage in a crime,
   10                  provided Armed separatists with the means or opportunity for the
   11                  commission thereof and which in fact aided Armed separatists to commit
   12                  the Attack that killed plaintiff’s employees and wife, and/or all other
   13                  attacks and intimidation on innocent civilians from October 2016 to
   14                  present.
   15               c. conspired with the Armed separatists, Armed separatists operatives and
   16                  sympathizers and others known and unknown, to violate relevant state
   17                  criminal laws on facilitating and aiding and abetting a crime and
   18                  committing an act or acts of terrorism, including assault, kidnapping and
   19                  murder.
   20         90.      As detailed herein, the aforesaid act or acts of international terrorism:
   21               a. involve a violent act or acts dangerous to human life, as demonstrated by
   22                  the known and foreseeable outcomes of injury and death resulting from
   23                  providing substantial assistance to Armed separatists terrorists;
   24               b. were committed primarily outside the territorial jurisdiction of the United
   25                  States and also transcended national boundaries in terms of the means by
   26                  which they were accomplished, the persons they appear intended to
   27
   28                                                -24-
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    1                  intimidate or coerce, and the locales in which their perpetrators operated;
    2                  and
    3               c. appeared to be intended to intimidate or coerce a civilian population; to
    4                  influence the policy of a government by intimidation or coercion; or, to
    5                  affect the conduct of a government by mass destruction, kidnapping or
    6                  assassination.
    7         91.      The aforesaid acts of DEFENDANTS were not mere negligence, but
    8   each act individually and/or in combination with one or more acts, constituted conduct
    9   that was intentional, reckless, willful and/or grossly negligent and each of those acts
   10   individually and/or in combination with one or more of those acts was a proximate
   11   cause of the attacks that killed, maimed, tortured, and burnt plaintiffs employees,
   12   laborers, and agents.
   13         92.      As a result, the DEFENDANTS and all DOES Defendants are liable to
   14   plaintiffs for all damages resulting from the injuries and harm suffered by plaintiff, as
   15   well as the deaths and sufferings of all those similarly situated as plaintiffs.
   16         93.      WHEREFORE, plaintiffs pray that judgment(s) for relief in the form of
   17   an award or awards of monetary damages for personal injury, all recoverable losses
   18   under 28 U.S.C. §2333 and other appropriate relief be entered on their first cause of
   19   action in favor of the plaintiffs individually and against the defendant DEFENDANTS
   20   , with separate awards for each plaintiff, where appropriate, plus interest, costs,
   21   punitive damages, treble damages, attorney's fees, and such other relief as the Court
   22   deems just and proper.
   23
   24                      SECOND CAUSE OF ACTION
              FOR PERSONAL INJURY DAMAGES PURSUANT TO THE ALIEN
   25         TORT CLAIMS ACT
   26         94.      Plaintiffs repeat and re-allege all of the preceding paragraphs as if fully
   27   set forth herein.
   28                                                -25-
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    1         95.      The Alien Tort Claims Act, 28 U.S.C. §1350, allows aliens to sue for
    2   torts committed in violation of the law of nations, international law or a treaty of the
    3   United States.
    4         96.      The conduct of DEFENDANTS as detailed herein to provide substantial
    5   material support, resources and sponsorship for Armed separatists and its acts of
    6   international terrorism resulting in the Attack that that killed, maimed, tortured, and
    7   burnt plaintiffs employees, laborers, and agents. constitutes a clear violation of the
    8   law of nations and international law, which includes international legal norms
    9   prohibiting crimes against humanity, mass murder, genocide, torture, extrajudicial
   10   killing, air piracy, financing of terrorism, and terrorism, which can be found in and
   11   derived from, among other things, the following conventions, agreements, U.N.
   12   declarations and resolutions, and other documents:
   13             a. Charter of the International Military Tribunal, Aug. 8, 1945, 59 Stat.

   14                  1544, 82 U.N.T.S. 279;
                    b. Allied Control Council Law No. 10 (Dec. 20, 1945);
   15
                    c. Convention on the Prevention and Punishment of the Crime of Genocide,
   16
                       Dec. 9 1948, 78 U.N.T.S. 277;
   17
                    d. Geneva Convention (IV) Relative to the Protection of Civilian Persons
   18
                       in Time of War, Aug. 12, 1949, 75 U.N.T.S. 287;
   19
                    e. Hague Convention for the Suppression of Unlawful Seizure of Aircraft
   20
                       (Hijacking), Dec. 16, 1970, 22 U.S.T. 1641, 860 U.N.T.S. 105;
   21
                    f. International Convention for the Suppression of Terrorist Bombings,
   22
                       Dec. 15, 1997, 2149 U.N.T.S. 284 (entered into force May 23, 2001);
   23
                    g. International Convention for the Suppression of the Financing of
   24
                       Terrorism, Dec. 9, 1999, 2178 U.N.T.S. 229 (entered into force Apr. 10,
   25
                       2002);
   26
   27
   28                                                -26-
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    1               h. U.N. Security Council Resolution 1267, U.N. Doc. S/RES/1267 (Oct. 15,

    2                  1999);
                    i. U.N. Security Council Resolution 1373, U.N. Doc. S/RES/1373 (Sept.
    3
                       28, 2001);
    4
                    j. Protocol Additional (I) to the Geneva Conventions of 12 August 1949,
    5
                       and Relating to the Protection of Victims of International Armed
    6
                       Conflict, June 8, 1977, 1125 U.N.T.S. 3;
    7
                    k. Protocol Additional (II) to the Geneva Conventions of 12 August 1949,
    8
                       and Relating to the Protection of Victims of Non-International Armed
    9
                       Conflicts, June 8, 1977, 1125 U.N.T.S. 609;
   10
                    l. Statute of the International Criminal Tribunal for the Former Yugoslavia
   11
                       (ICTY), in Report of the Secretary-General pursuant to paragraph 2 of
   12
                       S.C. Res.808, May 3, 1993, U.N. Doc. 8/25704, adopted unanimously by
   13
                       S.C. Res. 827, U.N. SCOR, 48th Sess., 3217th mtg., 16, U.N. Doc.
   14
                       S/PV.3217 (1993);
   15               m. The Convention on the Prevention and Punishment of Crimes Against
   16                  International Protected Persons, Including Diplomatic Agents, 28 U.S.T.
   17                  1975, T.I.A.S. No. 8532 (1977), implemented in 18 U.S.C. § 1121;
   18               n. The General Assembly Resolutions on Measures to Prevent International
   19                  Terrorism, G.A. Res. 40/61 (1985) and G.A. Res. 42/159 (1987); and
   20               o. The Convention on the High Seas, April 29, 1958, arts. 14-22 (piracy),
   21                  13 U.S.T. 2312, 450 U.N.T.S. 11.
   22
   23
              97.      DEFENDANTS's conduct was a substantial cause of the Attacks that
   24
        killed, maimed, tortured several employees of plaintiff, as well as caused the total loss
   25
        of plaintiffs economic interests from late 2016 to present.
   26
              98.      Defendants’ actions directly caused the death of John Doe’s wife.
   27
   28                                                -27-
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    1
    2                             THIRD CAUSE OF ACTION
                                 FOR RICO (18 U.S.C. § 1962(C))
    3
               99.    Plaintiff re-alleges and incorporates by reference all prior paragraphs of
    4
        this Complaint and paragraphs in the counts below as though set forth fully herein.
    5
               100. DEFENDANTS and all Does Defendants 1 – 5000 (collectively
    6
        “Defendants”) are all “persons” within the meaning of 18 U.S.C. § 1961(3). At all
    7
        relevant times, Defendants conducted the affairs of an Enterprise—which affected
    8
        interstate and foreign commerce—through a pattern of racketeering activity, in
    9
        violation of 18 U.S.C. § 1962(c).
   10
               A.     Defendants are a Racketeering Enterprise
   11
               101. Defendants are a Racketeering Enterprise, as that term is used in 18
   12
        U.S.C. § 1961(4).
   13
               102. Defendants have an ongoing organizational framework for carrying out
   14
        its objectives.
   15
               103. As described above, DEFENDANTS and each DOES Defendant
   16
        participate in the operation or management of the Enterprise.
   17
               104. Because defendants raise millions of dollars to support their terrorist
   18
        operations in Cameroon, by contacting sympathetic USA based Anglophone
   19
        Cameroon natives, it affects interstate and foreign commerce.
   20
               105. DEFENDANTS and each DOES Defendant conducted and/or
   21
        participated in the affairs of the Enterprise through a pattern of racketeering activity,
   22
        including acts indictable under 18 U.S.C. §2(a) — Aiding, abetting, counseling,
   23
        commanding, inducing or procuring a federal crime; 18 U.S.C. §371 — Conspiring to
   24
        commit a federal crime; 18 U.S.C. §2332b — Conspiring to commit an act of
   25
        terrorism; 18 U.S.C. §2339A - Providing material support to terrorists; 18 U.S.C.
   26
        §2339C - Prohibitions against the financing of terrorism; without limitation.
   27
   28                                                -28-
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    1
    2         B.   Alternatively, and at the Very Least, defendants are part of an
              Association-In-Fact Enterprise
    3
              106. Alternatively, and at the very least, defendants are part of an Association-
    4
        In-Fact Enterprise comprising DEFENDANTS and DOES Defendants, AIG, and
    5
        similar organizations. . The Association-In-Fact Enterprise was formed by at least
    6
        January 2017. From that time until present, the members of the Association-In-Fact
    7
        Enterprise worked together to further their mutual goals of separation from the
    8
        Republic of Cameroon to form an Ambazonia state, using guerilla tactics, terrorism,
    9
        providing material support to AIG fighters and related organizations, violence and
   10
        intimidation of Anglophone Cameroonians who do not support their political aims,
   11
        kidnappings, and other evil atrocities.
   12
              107. The Association-In-Fact Enterprise has an ongoing organizational
   13
        framework for carrying out its objectives. In fact, the Association-In-Fact Enterprise
   14
        could not have carried out its intricate task of sharing confidential information at the
   15
        moments when it would be most beneficial to AIG unless it had some structure for
   16
        making and communicating group decisions. The Association-In-Fact knows how to
   17
        reach its AIG fighters, agents, camps to provide instructions on what carnage to
   18
        execute on designated dates and times, including the Attack that killed plaintiff’s
   19
        father.
   20
              108. As described above, each Defendant participated in the operation or
   21
        management of the Association-In-Fact Enterprise, and benefitted financially from the
   22
        enterprise.
   23
              109. Because the Association-In-Fact Enterprise’s activities including the
   24
        raising of funds from Cameroon native sympathizers across the 50 states of the USA,
   25
        using interstate transportation and communications, traveling interstate to give
   26
   27
   28                                                -29-
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    1   speeches, incite support, obtain goods and services for the AIG based operatives in
    2   Cameroon, it affected interstate and foreign commerce.
    3         C.     RICO Predicate Acts
    4         110. Each Defendant conducted and/or participated in the affairs of AIG and
    5   the Association-In-Fact Enterprise through a pattern of racketeering activity,
    6   including acts indictable under 18 U.S.C. §2(a) — Aiding, abetting, counseling,
    7   commanding, inducing or procuring a federal crime; 18 U.S.C. §371 — Conspiring to
    8   commit a federal crime; 18 U.S.C. §2332b — Conspiring to commit an act of
    9   terrorism; 18 U.S.C. §2339A - Providing material support to terrorists; 18 U.S.C.
   10   §2339C - Prohibitions against the financing of terrorism; without limitation.
   11         111. Additional facts, conduct, actions, of DEFENDANTS and DOES
   12   Defendants, including AIG, acting jointly, and in concert with each other, are as noted
   13   in the Exhibit A and Exhibit B documents listed with links to the videos, as well as
   14   videos listed, with hyperlinks to the videos.
   15         C.     RICO Damages
   16         112. Plaintiff has been injured by Defendants’ violation of 18 U.S.C. §
   17   1962(c). Defendants caused enormous harm to Plaintiff, as described above. All of
   18   these injuries occurred within the United States.
   19
   20                                 FOURTH CAUSE OF ACTION
   21                       FOR RICO CONSPIRACY (18 U.S.C. § 1962(D))
   22         113. Plaintiff re-alleges and incorporates by reference all prior paragraphs of
   23   this Complaint and paragraphs in the counts below as though set forth fully herein.
   24         114. Defendants conspired with each other to violate 18 U.S.C. § 1962(c).
   25   Defendants knowingly agreed, combined, and conspired to conduct the affairs of the
   26   Enterprise or the Association-In-Fact Enterprise through AIG operations, Interim
   27   Government (“IG”) operations, Southern Cameroons Defense Forces (SOCADEF)
   28                                                -30-
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    1   operations, and the like. Each Defendant agreed that the operation would involve
    2   repeated violations of 18 U.S.C. §2(a) — Aiding, abetting, counseling, commanding,
    3   inducing or procuring a federal crime; 18 U.S.C. §371 — Conspiring to commit a
    4   federal crime; 18 U.S.C. §2332b — Conspiring to commit an act of terrorism; 18
    5   U.S.C. §2339A - Providing material support to terrorists; 18 U.S.C. §2339C -
    6   Prohibitions against the financing of terrorism; without limitation Defendants’
    7   conspiracy to violate 18 U.S.C. § 1962(c) violated § 1962(d).
    8         115. Plaintiffs have been injured by Defendants’ violation of 18 U.S.C. §
    9   1962(d). Plaintiffs have been injured by Defendants’ violation of 18 U.S.C. § 1962(c).
   10   Defendants caused enormous harm to Plaintiff’s. All of these injuries occurred within
   11   the United States.
   12                     FIFTH CAUSE OF ACTION
              LIABILITY FOR AIDING AND ABETTING ACTS OF
   13         INTERNATIONAL TERRORISM PURSUANT TO 18 U.S.C. § 2333(a)
   14         116. Plaintiffs repeat and re-allege each and every allegation of the foregoing
   15   paragraphs as if fully set forth herein.
   16         117. DEFENDANTS and AIG have committed, planned, or authorized
   17   activities that involved violence or acts dangerous to human life that are a violation of
   18   the criminal laws of the United States, or that would be a criminal violation if
   19   committed within the jurisdiction of the United States, including inter alia the
   20   prohibition on killing, attempting to kill, causing serious bodily injury, or attempting
   21   to cause serious bodily injury, as set forth in 18 U.S.C. § 2332, as well as crimes of
   22   assault, battery, criminal conspiracy.
   23         118.    These activities committed, planned, or authorized by DEFENDANTS
   24   and his AIG appear to have been, and were intended to: (a) intimidate or coerce the
   25   civilian populations of Cameroon; (b) influence the policy of the Government of
   26   Cameroon by intimidation or coercion; or (c) affect the conduct of the Governments
   27
   28                                                -31-
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    1   Cameroon, France, the United States and other countries by violence, destruction of
    2   property, killings of government officials, kidnapping, and intimidation.
    3          119. These activities committed, planned, or authorized by DEFENDANTS
    4   and AIG occurred partially outside of the territorial jurisdiction of the United States
    5   and constituted acts of international terrorism as defined in 18 U.S.C. § 2331(1).
    6          120. Plaintiffs have been injured in their person by reason of the acts of
    7   international terrorism committed, planned, or authorized by DEFENDANTS and
    8   AIG.
    9          121. At all times relevant to this action, Defendant DEFENDANTS knew that
   10   AIG was an Organization, that it had engaged in and continued to engage in illegal
   11   acts of terrorism, including international terrorism.
   12          122. Defendants       knowingly      provided     substantial    assistance    and
   13   encouragement to AIG and related armed groups and militia in Cameroon, and thus
   14   aided and abetted AIG and these armed separatists groups in committing, planning, or
   15   authorizing acts of international terrorism, including the acts of international terrorism
   16   that injured Plaintiffs.
   17          123. By aiding and abetting AIG and related armed groups and militia in
   18   Cameroon in committing, planning, or authorizing acts of international terrorism,
   19   including acts that caused each of the Plaintiffs to be injured in his or her person and
   20   property, Defendants are liable pursuant to 18 U.S.C. § 2333(a) and (d) for threefold
   21   any and all damages that Plaintiffs have sustained as a result of such injuries, and the
   22   costs of this suit, including attorney’s fees.
   23
   24                SIXTH CAUSE OF ACTION
            LIABILITY FOR CONSPIRING IN FURTHERANCE OF ACTS OF
   25   INTERNATIONAL TERRORISM PURSUANT TO 18 U.S.C. § 2333(a)
   26
   27
   28                                                -32-
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    1          124. Plaintiffs repeat and re-allege each and every allegation of the foregoing
    2   paragraphs as if fully set forth herein.
    3          125. Defendant DEFENDANTS knowingly agreed, licensed, and permitted
    4   armed separatists affiliates to register and use Defendants’ platform, Facebook posts,
    5   WhatsApp account, twitter, phone communications, financial support, fundraising,
    6   conduct, actions, participations, and other services to promote and carry out AIG’s
    7   activities, including AIG’s illegal acts of international terrorism that injured Plaintiffs.
    8          126. Defendant DEFENDANTS were aware that U.S. federal law prohibited
    9   providing material support and resources to, or engaging in transactions with, terrorist
   10   organizations and/or engaging in acts constituting international terrorism.
   11          127. By conspiring with armed separatists in furtherance of their commission,
   12   planning, or authorizing acts of international terrorism, including acts that caused each
   13   of the Plaintiffs to be injured in his or her person and property, DEFENDANTS are
   14   liable pursuant to 18 U.S.C. § 2333(a) and (d) for threefold any and all damages that
   15   Plaintiffs have sustained as a result of such injuries, and the costs of this suit, including
   16   attorney’s fees.
   17
   18                   SEVENTH CAUSE OF ACTION
               PROVISION OF MATERIAL SUPPORT TO TERRORISTS
   19          IN VIOLATION OF 18 U.S.C. § 2339A AND 18 U.S.C. § 2333
   20
   21          128. Plaintiffs repeat and re-allege each and every allegation of the foregoing
   22   paragraphs as if fully set forth herein.
   23          129. DEFENDANTS’s conduct of fundraising activities for armed separatist
   24   groups, instructions to organize violence in Cameroon, platform, Facebook posts,
   25   WhatsApp account, twitter, phone communications, and conduct, financial support,
   26   fundraising, actions, participations, other services to promote and carry out,
   27   substantially assisted armed separatist groups in carrying out its terrorist activities,
   28                                                -33-
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    1   including recruiting, radicalizing, and instructing terrorists, raising funds, creating fear
    2   and carrying out attacks, among other things.
    3         130. Through their actions, DEFENDANTS also provide personnel to AIG
    4   and related armed separatist groups by making DEFENDANTS and his AIG leaders,
    5   members, and potential new recruits available to each other for mutual help,
    6   assistance, encouragement, sharing of information, services, and expert advice or
    7   assistance.
    8         131. These services, equipment, and personnel constituted material support
    9   and resources pursuant to 18 U.S.C. § 2339A, and they facilitate acts of terrorism in
   10   violation of 18 U.S.C. § 2332 that caused the death of Plaintiff’s employees and wife.
   11         132. DEFENDANTS provided these services, equipment, and personnel to
   12   armed separatist groups, knowing that they were to be used in preparation for, or in
   13   carrying out, criminal acts including the acts that injured the Plaintiffs.
   14         133. As set forth more fully above, but for the material support and resources
   15   provided by Defendants, the attack that injured and killed Plaintiffs employees would
   16   not have occurred, nor the total loss of their economic interests.
   17         134. By committing violations of 18 U.S.C. § 2339A that have caused the
   18   Plaintiffs to be injured in his or her person, business or property, Defendants are liable
   19   pursuant to 18 U.S.C. § 2333 for any and all damages that Plaintiffs have sustained as
   20   a result of such injuries.
   21
   22                     EIGTH CAUSE OF ACTION
              NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
   23
   24
              135. Plaintiffs repeat and re-allege each of the foregoing allegations with the
   25
        same force and effect as if more fully set forth herein.
   26
   27
   28                                                -34-
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    1         136. DEFENDANTS engaged in negligent behavior by providing services,
    2   material support, training, expert advice or assistance, personnel, social media
    3   platform, other media communications, to AIG and related armed separatist groups.
    4         137. DEFENDANTS’s acts of providing the afore-noted actions to AIG and
    5   other armed separatist groups constituted a willful violation of federal statutes, and
    6   thus amounted to a willful violation of a statutory standard.
    7         138. As a direct, foreseeable and proximate result of the conduct of
    8   DEFENDANTS as alleged herein above, Plaintiffs has suffered severe emotional
    9   distress, and therefore DEFENDANTS is liable to the Plaintiffs for Plaintiffs’ severe
   10   emotional distress and related damages.
   11
   12
                              NINTH CAUSE OF ACTION
   13             PROVISION OF FINANCING OF TERRORISM IN VIOLATION OF
                                    18 U.S.C. § 2339C(a)
   14
           139.      Plaintiffs repeat and re-allege each and every allegation of the foregoing
   15
              paragraphs as if fully set forth herein.
   16
              140. DEFENDANTS’s conduct of fundraising activities for armed separatist
   17
        groups, instructions to organize violence in Cameroon, platform, Facebook posts,
   18
        WhatsApp account, twitter, phone communications, and conduct, financial support,
   19
        fundraising, actions, participations, other services to promote and carry out,
   20
        substantially assisted armed separatist groups in carrying out its terrorist activities,
   21
        including recruiting, radicalizing, and instructing terrorists, raising funds, creating fear
   22
        and carrying out attacks, among other things.
   23
              141. Through their actions, DEFENDANTS also provide personnel to AIG
   24
        and related armed separatist groups by making DEFENDANTS and his AIG leaders,
   25
        members, and potential new recruits available to each other for mutual help,
   26
   27
   28                                                -35-
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    1   assistance, encouragement, sharing of information, services, and expert advice or
    2   assistance.
    3         142. These services, equipment, and personnel constitute the provision of
    4   financing of terrorism in violation of 18 U.S.C. § 2339C( a), and they financed the
    5   acts of terrorism that caused the death of Plaintiff’s employees and wife.
    6         143. DEFENDANTS provided these funds, monies, financial instruments,
    7   and other monetary assistance, obtained from within the USA, to the armed separatist
    8   groups in Cameroon, knowing that they were to be used in preparation for, or in
    9   carrying out, criminal acts including the acts that injured the Plaintiffs.
   10         144. As set forth more fully above, but for the violation of this Statute by
   11   Defendants, the attack that injured and killed Plaintiffs employees would not have
   12   occurred, nor the total loss of their economic interests.
   13         145. By committing violations of 18 U.S.C. § 2339C( a) that have caused the
   14   Plaintiffs to be injured in his or her person, business or property, Defendants are liable
   15   pursuant to 18 U.S.C. § 2333 for any and all damages that Plaintiffs have sustained as
   16   a result of such injuries.
   17
   18                      TENTH CAUSE OF ACTION
                PROVISION OF FUNDS FROM WITHIN USA TO PLACE OUTSIDE
   19              USA FOR AN UNLAWFUL ACTIVITY 18 U.S.C. § 1956
   20      146.       Plaintiffs repeat and re-allege each and every allegation of the foregoing
   21         paragraphs as if fully set forth herein.
   22         147. DEFENDANTS’s conduct of fundraising activities for armed separatist
   23   groups, instructions to organize violence in Cameroon, platform, Facebook posts,
   24   WhatsApp account, twitter, phone communications, and conduct, financial support,
   25   fundraising, actions, participations, other services to promote and carry out,
   26   substantially assisted armed separatist groups in carrying out its terrorist activities,
   27
   28                                                -36-
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    1   including recruiting, radicalizing, and instructing terrorists, raising funds, creating fear
    2   and carrying out attacks, among other things.
    3         148. Through their actions, DEFENDANTS also provide personnel to AIG
    4   and related armed separatist groups by making DEFENDANTS and his AIG leaders,
    5   members, and potential new recruits available to each other for mutual help,
    6   assistance, encouragement, sharing of information, services, and expert advice or
    7   assistance.
    8         149. These services, equipment, and personnel constitute the provision of
    9   financing of terrorism in violation of 18 U.S.C. § 2339C( a), and they financed the
   10   acts of terrorism that caused the death of Plaintiff’s employees and wife.
   11         150. DEFENDANTS provided these funds, monies, financial instruments,
   12   and other monetary assistance, obtained from within the USA, to the armed separatist
   13   groups in Cameroon, knowing that they were to be used in preparation for, or in
   14   carrying out, criminal acts including the acts that injured the Plaintiffs.
   15         151. As set forth more fully above, but for the violation of this Statute by
   16   Defendants, the attack that injured and killed Plaintiffs employees would not have
   17   occurred, nor the total loss of their economic interests.
   18         152. By committing violations of 18 U.S.C. § 2339C( a) that have caused the
   19   Plaintiffs to be injured in his or her person, business or property, Defendants are liable
   20   pursuant to 18 U.S.C. § 2333 for any and all damages that Plaintiffs have sustained as
   21   a result of such injuries.
   22
                              ELEVENTH CAUSE OF ACTION
   23         VIOLATION OF THE EXPEDITION AGAINST FRIENDLY NATION
              18 U.S.C. § 960
   24
   25      153.       Plaintiffs repeat and re-allege each and every allegation of the foregoing
   26         paragraphs as if fully set forth herein.
   27
   28                                                -37-
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    1         154. DEFENDANTS’s have formed enterprises or non profit corporations,
    2   with hundreds of co-conspirators, with the specific intention of going to war against
    3   the Republic of Cameroon, purchasing guns for their war, fund raising activities for
    4   their enterprise, supporting the armed separatists in Cameroon, and using any
    5   terrorism tactics in order to make the English speaking regions “ungovernable” so that
    6   it is abandoned by Cameroon.
    7         155. Cameroon is at peace with the United States, and enjoys quite friendly
    8   bilateral relations and cooperation at all levels.
    9         156. As set forth more fully above, but for the violation of this Statute by
   10   Defendants, the attack that injured and killed Plaintiffs employees and John Doe’s
   11   wife would not have occurred, nor the total loss of their economic interests.
   12         157. By committing violations of 18 U.S.C. § 960 that have caused the
   13   Plaintiffs to be injured in his or her person, business or property, Defendants are liable
   14   pursuant to 18 U.S.C. § 2333 for any and all damages that Plaintiffs have sustained as
   15   a result of such injuries.
   16
   17
                                     PRAYER FOR RELIEF
   18
              WHEREFORE, Plaintiff demands judgment against Defendants on all Counts,
   19
        and seeks such relief as specified below for all Counts for which such relief is provided
   20
        by law:
   21
            a) Awarding Plaintiff damages in an amount to be determined at trial;
   22
            b) Awarding Plaintiff compensatory and treble damages, as available, in an
   23
                  amount to be proven at trial;
   24
            c) Awarding Plaintiff the financial gain earned by Defendants as a consequence
   25
                  of the violations described herein;
   26
            d) Awarding Plaintiff statutory damages, as available;
   27
   28                                                -38-
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    1      e) Awarding Plaintiff punitive damages, as available;
    2      f) Issuing a Declaration that: defendant DEFENDANTS’s conduct, and that of
    3         DOES Defendants, and like sympathizers, who assist with providing material
    4         support to AIG and similar organization attacks on innocent civilians is a
    5         violation of USA ant-terrorism act laws.
    6      g) Issuing a Temporary Restraining Order, Injunction, including a preliminary
    7         injunction,: restraining DEFENDANTS and his agents, fighters, organization,
    8         and those acting in active concert or participation with him from: engaging in
    9         conduct as alleged in this Complaint, and principally the material support of
   10         terrorism in Cameroon, and including, but not limited to an injunction against
   11         engaging in these crimes: 18 U.S.C. §2(a) — Aiding, abetting, counseling,
   12         commanding, inducing or procuring a federal crime; 18 U.S.C. §371 —
   13         Conspiring to commit a federal crime; 18 U.S.C. §2332b — Conspiring to
   14         commit an act of terrorism; 18 U.S.C. §2339A - Providing material support to
   15         terrorists; 18 U.S.C. §2339C - Prohibitions against the financing of terrorism;
   16         international money laundering, kidnapping, assault, battery, murder,
   17         destruction of property, civilian intimidation and threats, without limitation.
   18      h) Awarding Plaintiff all costs and attorneys’ fees to the full extent permitted
   19         under the applicable law;
   20      i) Awarding Plaintiff pre- and post-judgment interest as permitted by law;
   21      j) Awarding any other relief as the Court may deem just and proper.
   22      k) That the Court, sua sponte, with its inherent Constitutional and Statutory
   23         powers to ensure justice, and to help save lives and pain and sufferings of
   24         similar plaintiffs within its jurisdiction:
   25             a. Refer this matter to the terrorism units of the FBI with jurisdiction over
   26                this DEFENDANTS, for investigations and assessment consistent with
   27                the allegations herein;
   28                                               -39-
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    1              b. Refer this matter to the terrorism units of the California State and local
    2                  police with jurisdiction over the DEFENDANTS, as their conduct and
    3                  actions present a clear and present danger of terrorism imminent that
    4                  harms US citizens, for investigations and assessment consistent with the
    5                  allegations herein;
    6              c. Refer these defendants to the IRS and Department of Treasury for
    7                  investigations into their actions, as described herein.
    8              d. All other actions which this Court deems appropriate to prevent terrorist
    9                  acts emanating from DEFENDANTS harming US citizens and
   10                  residents.
   11
   12                                      JURY DEMAND
   13
   14          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands
   15   trial by jury in this action of all issues so triable.
   16
   17   Date: April 19, 2019                         Respectfully Submitted,

   18                                                EMMANUEL NSAHLAI
   19
                                                 By: ___________/S/________________
   20                                               NSAHLAI LAW FIRM
   21                                                EMMANUEL NSAHLAI, SBN (207588)
   22                                                email: nsahlai.e@nsahlailawfirm.com
                                                     3250 WILSHIRE BLVD, STE 1500
   23                                                LOS ANGELES, CA 90010
   24                                                Tel (213) 797-0369
                                                     Fax (213) 973-4617
   25
   26                                                Attorney for Plaintiffs

   27
   28                                                -40-
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    1
                                  CERTIFICATE OF SERVICE
    2
    3         I HEREBY CERTIFY that on April 17, 2019, I directed that the foregoing
        document be electronically filed with the Clerk of the Court by using the CM/ECF
    4   system, and
    5
              [ ] (By U.S. Mail) I deposited such envelope in the mail at Los Angeles, CA
    6   on April 19, 2019 with postage thereon fully prepaid. I am aware that on motion of
    7   the party served, service is presumed invalid if postal cancellation date or postage
        meter date is more than one day after date of deposit for mailing in affidavit.
    8
              Defendant,
    9
   10
   11                                            By:_______/S/______________
   12                                                EMMANUEL NSAHLAI
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   28      ________________ v. _______________             Case .No. _______________________
                                         Certificate of Service
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